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                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             CR 19-789-PA

 Defendant            Frank Paul Feliz, II                                   Social Security No. 4          6     0     7

 akas: None                                                                  (Last 4 digits)

                                             JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                      MONTH   DAY   YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.         11      02   2020


 COUNSEL                                                                 Elena Sadowsky, DFPD
                                                                             (Name of Counsel)

     PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO              NOT
                                                                                                                CONTENDERE          GUILTY
  FINDING             There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                      Distribution of Child Pornography in violation of 18 U.S.C. §§ 2252A(a)(2)(A), (b)(1) as charged in
                      Count One of the Indictment.

JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no
AND PROB/ sufficient cause to the contrary was shown, or appeared to the Court, the Court adjudged the defendant
  COMM
  ORDER
          guilty as charged and convicted and ordered that: Pursuant to the Sentencing Reform Act of 1984, it is the
                      judgment of the Court that the defendant, Frank Paul Feliz, II is hereby committed to the custody of the
                      Bureau of Prisons to be imprisoned for a term of seventy-two (72) months.


Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 15 years under the
following terms and conditions:

    1. The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services
       Office and Amended General Order 20-04.

    2. During the period of community supervision, the defendant shall pay the special assessment and restitution in
       accordance with this judgment's orders pertaining to such payment.

    3. The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance, judgments
       and any other financial gains to the Court-ordered financial obligation.

    4. The defendant shall cooperate in the collection of a DNA sample from the defendant.

    5. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one
       drug test within 15 days of release from custody and at least two periodic drug tests thereafter, not to exceed eight
       tests per month, as directed by the Probation Officer.

    6. The defendant shall participate in an outpatient substance abuse treatment and counseling program that includes
       urinalysis, breath or sweat patch testing, as directed by the Probation Officer. The defendant shall abstain from
       using alcohol and illicit drugs, and from abusing prescription medications during the period of supervision.
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    7. As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-ordered treatment
       to the aftercare contractors during the period of community supervision. The defendant shall provide payment
       and proof of payment as directed by the Probation Officer. If the defendant has no ability to pay, no payment
       shall be required.

    8. Defendant shall register as a sex offender, and keep the registration current, in each jurisdiction where he resides,
       where he is an employee, and where he is a student, to the extent the registration procedures have been established
       in each jurisdiction. When registering for the first time, the defendant shall also register in the jurisdiction in
       which the conviction occurred if different from his jurisdiction of residence. Defendant shall provide proof of
       registration to the Probation Officer within three days of placement on probation or release from imprisonment.

    9. Defendant shall participate in a psychological counseling and/or psychiatric treatment and/or sex offender
       treatment program, which may include inpatient treatment upon order of the Court, as approved and directed by
       the Probation Officer. Defendant shall abide by all rules, requirements, and conditions of such program, including
       submission to risk assessment evaluations and physiological testing, such as polygraph and Abel testing, but
       defendant retains the right to invoke the Fifth Amendment. The Probation Officer shall disclose the presentence
       report and/or any previous mental health evaluations or reports to the treatment provider.

    10. As directed by the Probation Officer, defendant shall pay all or part of the costs of treating the defendant’s
        psychological/psychiatric disorder(s) to the aftercare contractor during the period of community supervision,
        pursuant to 18 U.S.C. § 3672. Defendant shall provide payment and proof of payment as directed by the Probation
        Officer.

    11. Defendant shall not view or possess any materials, including pictures, photographs, books, writings, drawings,
        videos, or video games depicting and/or describing child pornography, as defined at 18 USC §2256(8), or sexually
        explicit conduct involving children, as defined at 18 USC §2256(2). Defendant shall not possess or view any
        materials such as videos, magazines, photographs, computer images or other matter that depicts “actual sexually
        explicit conduct” involving adults as defined by 18 USC §2257(h)(1). This condition does not prohibit defendant
        from possessing materials solely because they are necessary to, and used for, a collateral attack, nor does it
        prohibit defendant from possessing materials prepared and used for the purposes of defendant’s court-mandated
        sex offender treatment, when defendant’s treatment provider or the probation officer has approved of defendant’s
        possession of the materials in advance.

    12. Defendant shall not associate or have verbal, written, telephonic, or electronic communication with any person
        under the age of 18, except: (a) in the presence of the parent or legal guardian of said minor; and (b) on the
        condition that defendant shall notify said parent or legal guardian of defendant’s conviction in the instant offense.
        This provision does not encompass persons under the age of 18, such as waiters, cashiers, ticket vendors, etc.,
        with whom defendant must interact in order to obtain ordinary and usual commercial services.

    13. Defendant shall not frequent, or loiter, within 100 feet of school yards, parks, public swimming pools,
        playgrounds, youth centers, video arcade facilities, or other places primarily used by persons under the age of 18.

    14. Defendant shall not affiliate with, own, control, volunteer or be employed in any capacity by a business or
        organization that causes him to regularly contact persons under the age of 18.

    15. Defendant shall not affiliate with, own, control, or be employed in any capacity by a business whose principal
        product is the production or selling of materials depicting or describing “sexually explicit conduct,” as defined at
        18 USC §2256(2).

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    16. Defendant’s employment shall be approved by the Probation Officer, and any change in employment must be
        pre-approved by the Probation Officer. Defendant shall submit the name and address of the proposed employer
        to the Probation Officer at least ten days prior to any scheduled change.

    17. Defendant shall not reside within 2,000 feet of school yards, parks, public swimming pools, playgrounds, youth
        centers, video arcade facilities, or other places primarily used by persons under the age of 18. Defendant’s
        residence shall be approved by the Probation Officer, and any change in residence must be pre-approved by the
        Probation Officer. Defendant shall submit the address of the proposed residence to the Probation Officer at least
        ten days prior to any scheduled move.

    18. Defendant shall submit defendant’s person, and any property, house, residence, vehicle, papers, computer, other
        electronic communication or data storage device or media, and effects to search at any time, with or without
        warrant, by any law enforcement or Probation Officer with reasonable suspicion concerning a violation of a
        condition of probation/supervised release or unlawful conduct by the defendant, and by any Probation Officer in
        the lawful discharge of the officer’s supervision functions.

    19. Defendant shall possess and use only those computers and computer-related devices, screen user names,
        passwords, email accounts, and internet service providers (ISPs) that have been disclosed to the Probation Officer
        upon commencement of supervision. Any changes or additions are to be disclosed to the Probation Officer prior
        to the first use. Computers and computer-related devices include personal computers, personal data assistants
        (PDAs), internet appliances, electronic games, cellular telephones, and digital storage media, as well as their
        peripheral equipment, that can access, or can be modified to access, the internet, electronic bulletin boards, and
        other computers.

    20. All computers, computer-related devices, and their peripheral equipment, used by defendant shall be subject to
        search and seizure. This shall not apply to items used at defendant’s employment site that are maintained and
        monitored by the employer.

    21. Defendant shall comply with the rules and regulations of the Computer Monitoring Program. Defendant shall
        pay the cost of the Computer Monitoring Program, in an amount not to exceed $32 per month per device connected
        to the internet.

The Court authorizes the Probation & Pretrial Services Office to disclose the Presentence Report to the substance abuse
treatment provider to facilitate the defendant's treatment for narcotic addiction or drug dependency. Further redisclosure
of the Presentence Report by the treatment provider is prohibited without the consent of the sentencing judge.

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due immediately.
Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and
pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

Pursuant to Guideline §5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is
unable to pay and is not likely to become able to pay any fine.

It is ordered that the defendant shall pay restitution pursuant to 18 U.S.C. § 3663 (a). Pursuant to 18 U.S.C. §3646 (D)(5),
a final determination of the victim’s losses will be ordered at a deferrered restitution hearing after such information
becomes available. An amended judgment will be entered after that determination.



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The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant and provide all
necessary treatment.


It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons at or
before 12 noon, on February 25, 2021. In the absence of such designation, the defendant shall report on or before the
same date and time, to the United States Marshal located at the Roybal Federal Building, 255 East Temple Street, Los
Angeles, California 90012.

The Court further recommends that the defendant be incarcerated in a Federal Correctional Institution in Lompoc,
California or other Nothern California or Oregon facility.

Bond is exonerated upon self-surrender.

The Court recommends that the Bureau of Prisons consider the defendant for placement in its 500-hour Residential
Drug Abuse Program.

On Government's motion, all remaining counts are ORDERED dismissed.

Defendant advised of his right to appeal.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            November 5, 2020
            Date                                                  U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                  Clerk, U.S. District Court




            November 5, 2020                                By    /s/ Gabriela Garcia
            Filed Date                                            Deputy Clerk




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 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local crime;    9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a               any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                      by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                    family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the          review and has determined that the restriction is necessary for
       court or probation officer;                                                     protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without     10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;               not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation             other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment               substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;             11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation               being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before    12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change            ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                 13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her           enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                permission of the court;
       any contraband prohibited by law or the terms of supervision and         14.    As directed by the probation officer, the defendant must notify
       observed in plain view by the probation officer;                                specific persons and organizations of specific risks posed by the
 8.    The defendant must work at a lawful occupation unless excused by                defendant to those persons and organizations and must permit the
       the probation officer for schooling, training, or other acceptable              probation officer to confirm the defendant’s compliance with such
       reasons and must notify the probation officer at least ten days before          requirement and to make such notifications;
       any change in employment or within 72 hours of an unanticipated          15.    The defendant must follow the instructions of the probation officer
       change;                                                                         to implement the orders of the court, afford adequate deterrence from
                                                                                       criminal conduct, protect the public from further crimes of the
                                                                                       defendant; and provide the defendant with needed educational or
                                                                                       vocational training, medical care, or other correctional treatment in
                                                                                       the most effective manner.




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   X The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

          The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
 proceeds must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts,
 including any business accounts, must be disclosed to the Probation Officer upon request.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




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                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                     to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal




                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY



Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




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